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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                   -against-
                                                                 ORDER

 KALEIL ISAZA TUZMAN,                                        15 Cr. 536 (PGG)

                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               Defense counsel has filed three sealed and ex parte letters seeking to withdraw as

counsel for Defendant Tuzman. (Feb. 8, 2018 Ltr. (filed under seal); Mar. 20, 2018 Ltr. (filed

under seal); May 3, 2018 Ltr. (filed under seal))

               As discussed at sentencing, defense counsel’s request to withdraw is granted,

subject to counsel’s obligation to discuss with Defendant whether a notice of appeal will be filed.

Dated: New York, New York
       September 13, 2021
